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       In The United States Court of Federal Claims
                                           No. 02-25L

                                     (Filed: January 8, 2010)
                                           __________
 JICARILLA APACHE NATION, formerly
 JICARILLA APACHE TRIBE,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.
                                           _________

                                            ORDER
                                           __________

        Today, defendant filed a motion to stay this court’s January 4, 2010, order requiring
production of those documents described in part IV(1)(a) of this court’s July 2, 2009 order (“part
IV(1)(a) documents”). To allow for briefing on defendant’s motion and further to prepare the
court for its review:

       1.      The deadline for defendant’s production of the part IV(1)(a)
               documents is hereby extended to and including February 1, 2010.
               (This deadline will be revised further or stayed should the court
               grant, in whole or in part, defendant’s motion);

       2.      On or before January 19, 2010, defendant shall file a memorandum
               on the following issue: whether production of the part IV(1)(a)
               documents to plaintiff under court order will waive the privilege as
               to those documents as to third parties;

       3.      On or before January 26, 2010, plaintiff shall file a response to
               defendant’s motion and to defendant’s January 19, 2010,
               memorandum (the amici which previously participated in this case
               may file a response as of the same date); and
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4.   The court’s January 4, 2010, order requiring the parties to file a
     joint status report on or before January 25, 2010, is hereby stayed
     until further order.

IT IS SO ORDERED.


                                           s/ Francis M. Allegra
                                           Francis M. Allegra
                                           Judge
